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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

OAKLEY, INC.,
                                                     Case No. 20-cv-00329
                        Plaintiff,
                                                     Judge Martha M. Pacold
       v.                                            Magistrate Judge M. David Weisman

JULY BREEZE, et al.,

                        Defendants.


                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Oakley, Inc.

(“Plaintiff”) hereby dismisses this action with prejudice against the following Defendants:

                Defendant Name                                         Line No.
                  circle_plum                                             11
                 Zhoucailian92                                            31

Dated this 20th day of March 2020.           Respectfully submitted,

                                             /s/ Justin R. Gaudio
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